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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


  JESSE CROWELL, et al., on behalf of              )
  themselves and all others similarly situated,    )         C.A. No. 1:23-cv-00013-MN
                                                   )
         Plaintiffs,                               )
                                                   )
  v.                                               )
                                                   )
  FCA US LLC, et al.,                              )
                                                   )
         Defendants.                               )


                       SCHEDULING ORDER [NON-PATENT; JURY TRIAL]

         This     day of November, 2024, the Court having conducted an initial Rule 16(b)

  scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

  discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

  or binding arbitration;

         IT IS ORDERED that:

         1.      Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard.          Unless

  otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

  Federal Rule of Civil Procedure 26(a)(1) within five (5) days of the date the Court entered this

  Order. If they have not already done so, the parties are to review the Court’s Default Standard for

  Discovery, Including Discovery of Electronically Stored Information (“ESI”), which is posted at

  http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

  incorporated herein by reference.

         2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

  parties, and to amend or supplement the pleadings, shall be filed on or before September 26, 2025.
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  Unless otherwise ordered by the Court, any motion to join a party or motion to amend the pleadings

  shall be made pursuant to the procedures set forth in Paragraphs 7(g) and 8.

         3.      Application to Court for Protective Order. Should counsel find it will be necessary

  to apply to the Court for a protective order specifying terms and conditions for the disclosure of

  confidential information, counsel should confer and attempt to reach an agreement on a proposed

  form of order and submit it to the Court within ten (10) days from the date the Court enters this

  Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel must

  follow the provisions of Paragraph 7(g) below.

         Any proposed protective order must include the following paragraph:

         Other Proceedings. By entering this order and limiting the disclosure of
         information in this case, the Court does not intend to preclude another court from
         finding that information may be relevant and subject to disclosure in another case.
         Any person or party subject to this order who becomes subject to a motion to
         disclose another party’s information designated “confidential” [the parties should
         list any other level of designation, such as “highly confidential,” which may be
         provided for in the protective order] pursuant to this order shall promptly notify
         that party of the motion so that the party may have an opportunity to appear and be
         heard on whether that information should be disclosed.

         4.      Papers Filed Under Seal.         In accordance with section G of the Revised

  Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version

  of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

  document.

         5.      Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of

  all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits,

  declarations, affidavits, etc.). This provision also applies to papers filed under seal. All courtesy

  copies shall be double-sided.




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         6.      ADR Process. This matter is referred to a magistrate judge to explore the possibility

  of alternative dispute resolution.

         7.      Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

  limitations on discovery set forth in the Federal Rules shall be strictly observed.

                 (a)     Class Certification Fact Discovery Cut Off. All fact discovery relating to

                 class certification in this case shall be initiated so that it will be completed on or

                 before September 12, 2025.

                 (b)     Document Production. Document production related to class certification

                 shall be substantially complete by July 14, 2025.

                 (c)     Requests for Admission. A maximum of 20 requests for admission are

                 permitted for each side.

                 (d)     Interrogatories.

                         i.      A     maximum     of   25   interrogatories,   including   contention

                         interrogatories, are permitted for each side to serve on each opposing party.

                         ii.     The Court encourages the parties to serve and respond to contention

                         interrogatories early in the case. In the absence of agreement among the

                         parties, contention interrogatories, if filed, shall first be addressed by the

                         party with the burden of proof. The adequacy of all interrogatory answers

                         shall be judged by the level of detail each party provides (i.e., the more

                         detail a party provides, the more detail a party shall receive).

                 (e)     Depositions.

                         i.      Limitation on Hours for Deposition Discovery.




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                   Plaintiffs’ Position: Each side is limited to a total of 100 hours of taking

                   testimony by deposition upon oral examination. This would allow the

                   Defendant to initially take a sample of Plaintiffs’ depositions, consistent

                   with Supreme Court precedent reaffirming the propriety of establishing or

                   defending against liability through use of a representative sample. See

                   Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1049 (2016). If, after

                   taking 100 hours of deposition testimony, either party may request that the

                   Court increase the number of deposition hours. The non-requesting party

                   will not unreasonably withhold consent to any such request.

                   FCA US’s Position: Each side is limited to one deposition of up to seven

                   hours of each opposing party (i.e., each plaintiff and a Rule 30(b)(6)

                   representative of FCA US). Rule 30’s limitations (e.g., on the number and

                   duration of depositions) otherwise apply.

                          Plaintiffs’ reliance on Tyson Foods, Inc. is misplaced here. For

                   instance, that case is an FLSA case holding only that statistical or

                   “representative” evidence about the time employees needed for “donning

                   and doffing protective gear” could be used in that specific context of a

                   “collective action,” something this case is not. See 136 S.Ct. at 1039.

                   Moreover, Tyson Foods does not discuss depositions, and the defendant

                   there was not arguing it should take the deposition of every single “donning

                   and doffing” employee in the company. See id.

                          FCA US has the right to take the deposition of the opposing parties

                   in this case. See, e.g., Fed. R. Civ. P. 30 (a)(1); see also Dysthe v. Basic




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                   Research, L.L.C., 273 F.R.D. 625, 628-29 (C.D.Cal. 2011). Not only that,

                   but Plaintiffs’ proposal unfairly hamstrings FCA US in allowing them to

                   take at least 14 depositions of FCA US’s corporate representative, other

                   witnesses, and experts, whereas FCA US would not even be able to depose

                   half of the Named Plaintiffs.

                   ii.    Location of Depositions.      Any party or representative (officer,

                   director, or managing agent) of a party filing a civil action in this district

                   court must ordinarily be required, upon request, to submit to a deposition at

                   a place designated within this district. Exceptions to this general rule may

                   be made by order of the Court, or written agreement of the parties. A

                   defendant who becomes a counterclaimant, cross-claimant, or third-party

                   plaintiff shall be considered as having filed an action in this Court for the

                   purpose of this provision.

             (f)   Disclosure of Expert Testimony Relating to Class Certification.

                   i.     Expert Reports. For the party who has the initial burden of proof

                   on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2)

                   disclosure of expert testimony is due on or before September 26, 2025.

                   The supplemental disclosure to contradict or rebut evidence on the same

                   matter identified by another party is due on or before October 31, 2025.

                   Reply expert reports from the party with the initial burden of proof, if

                   any, are due on or before November 26, 2025.              No other class

                   certification related expert reports will be permitted without either the

                   consent of all parties or leave of the Court. Along with the submissions




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                   of the expert reports, the parties shall advise of the dates and times of their

                   experts’ availability for deposition.

                   ii.     Objections to Expert Testimony. To the extent any objection to

                   expert testimony is made pursuant to the principles announced in Daubert

                   v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), as

                   incorporated in Federal Rule of Evidence 702, it shall be made by motion

                   by no later than [Plaintiffs’ Position: January 14, 2026 / FCA US’s

                   Position: February 13, 2026]. Oppositions to any such motions shall

                   be filed by [Plaintiffs’ Position:        February 18, 2026 / FCA US’s

                   Position: March 30, 2026], and any replies in support of a party’s

                   objections to expert testimony shall be filed by [Plaintiffs’ Position:

                   March 18, 2026 / FCA US’s Position: April 29, 2026].

                   iii.    Expert Discovery Cut-Off. All expert discovery relating to class

                   certification in this case shall be initiated so that it will be completed on

                   or before [Plaintiffs’ Position:        December 20, 2025        / FCA US’s

                   Position: January 9, 2026].

             (g)   Discovery Matters and Disputes Relating to Protective Orders.

                   i.      Any discovery motion filed without first complying with the

                   following procedures will be denied without prejudice to renew pursuant to

                   these procedures.

                   ii.     Should counsel find, after a reasonable effort pursuant to Local

                   Rule 7.1.1 that they are unable to resolve a discovery matter or a dispute

                   relating to a protective order, the parties involved in the discovery matter or




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                      protective order dispute shall contact the Court’s Judicial Administrator to

                      schedule an argument.

                      iii.    On a date to be set by separate order, generally not less than four (4)

                      days prior to the conference, the party seeking relief shall file with the Court

                      a letter, not to exceed three (3) pages, outlining the issues in dispute and its

                      position on those issues. On a date to be set by separate order, but generally

                      not less than three (3) days prior to the conference, any party opposing the

                      application for relief may file a letter, not to exceed three (3) pages,

                      outlining that party’s reasons for its opposition.

                      iv.     The parties shall provide to the Court two (2) courtesy copies of its

                      discovery letter and any other document filed in support of any letter (i.e.,

                      appendices, exhibits, declarations, affidavits etc.). This provision also

                      applies to papers filed under seal. All courtesy copies shall be double-sided.

                      v.      Should the Court find further briefing necessary upon conclusion of

                      the conference, the Court will order it. Alternatively, the Court may choose

                      to resolve the dispute prior to the conference and will, in that event, cancel

                      the conference.

       8.     Motions to Amend / Motions to Strike.

              (a)     Any motion to amend (including a motion for leave to amend) a pleading

       or any motion to strike any pleading or other document shall be made pursuant to the

       discovery dispute procedure set forth in Paragraph 7(g) above.

              (b)     Any such motion shall attach the proposed amended pleading as well as a

       “redline” comparison to the prior pleading or attach the document to be stricken.




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           9.     Class Certification Motion.

           Any motion to certify a class shall be made by [Plaintiffs’ Position: January 14, 2026 /

  FCA US’s Position: February 13, 2026]. Any opposition shall be filed by [Plaintiffs’ Position:

  February 18, 2026 / FCA US’s Position: March 30, 2026], and any reply in support of the

  motion shall be filed by [Plaintiffs’ Position: March 18, 2026 / FCA US’s Position: April 29,

  2026].

           10.    Case Dispositive Motions.

           Following the decision on class certification, the parties request that the court hold a status

  conference to determine subsequent deadlines.

  Plaintiffs’ Position:

           Plaintiffs believe the Court’s default language should otherwise apply: Briefing will be

  presented pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be

  filed more than ten (10) days before the deadline for dispositive motions set by the Court without

  leave of the Court.

           Federal Rule of Civil Procedure 23(c)(1)(A) provides that, “[a]t an early practicable time

  after a person sues or is sued as a class representative, the court must determine by order whether

  to certify the action as a class action.” Fed. R. Civ. P. 23(c)(1)(A). Courts interpreting “an early

  practicable time” have held that this phrase precludes, or at least discourages, a court from deciding

  a motion that reaches the merits of the litigation before deciding the issue of class certification.

  FCA US’s Position:

           Given the complexity and nature of Plaintiffs’ allegations, not to mention the number of

  claims that the thirty-five named plaintiffs assert, FCA US believes additional time beyond what




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  the Local Rules allow is necessary to adequately brief any case dispositive motion a party may

  file.

          In addition, FCA US states that allowing it to move for summary judgment before a ruling

  on class certification promotes efficiency and judicial economy. By way of example, the analysis

  and resolution of summary judgment issues first could likely bear on class certification, including

  whether fewer plaintiffs, fewer claims, or both would even be relevant to a certification analysis.

  And, it is beyond dispute that it is in the best interest of putative class members to have the

  summary judgment motions decided before class certification. If the summary judgment motions

  are granted after a class is certified, putative class members’ claims will be forever extinguished.

  A ruling on summary judgment before proceeding with class certification would protect these

  putative class members from this drastic effect.

          Courts considering the issue repeatedly find that ruling on a summary judgment motion before

  ruling on a class certification motion promotes efficiency and judicial economy. In the event the Court

  is inclined to find otherwise, FCA US requests an opportunity to more fully brief the issue.

                 (a)     All case dispositive motions, an opening brief, and affidavits, if any, in

  support of the motion shall be served and filed on or before a date four months prior to the pretrial

  conference, the four months being calculated from the conclusion of the briefing.

                 (b)     Concise Statement of Facts Requirement. Any motion for summary

  judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages,

  which details each material fact which the moving party contends is essential for the Court’s

  resolution of the summary judgment motion (not the entire case) and as to which the moving

  party contends there is no genuine issue to be tried. Each fact shall be set forth in a separate

  numbered paragraph and shall be supported by specific citation(s) to the record.




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                Any party opposing the motion shall include with its opposing papers a response

to the moving party’s concise statement, not to exceed six (6) pages, which admits or disputes

the facts set forth in the moving party’s concise statement on a paragraph-by-paragraph basis.

To the extent a fact is disputed, the basis of the dispute shall be supported by specific citation(s)

to the record. Failure to respond to a fact presented in the moving party’s concise statement of

facts shall indicate that fact is not in dispute for purposes of summary judgment. The party

opposing the motion may also include with its opposing papers a separate concise statement, not

to exceed four (4) pages, which sets forth material facts as to which the opposing party contends

there is a genuine issue to be tried. Each fact asserted by the opposing party shall also be set

forth in a separate numbered paragraph and shall be supported by specific citation(s) to the

record.

                The moving party shall include with its reply papers a response to the opposing

party’s concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph

basis. Failure to respond to a fact presented in the opposing party’s concise statement of facts

shall indicate that fact remains in dispute for purposes of summary judgment.

          11.   Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

          12.   Status Conference Following Class Certification Determination. Following its

ruling on any motion for class certification, the Court will hold a status conference to address

subsequent deadlines and proceedings, including the conclusion of additional fact or expert

discovery, if any, and the scheduling of a pretrial conference and trial date.




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        13.     Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed

voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict

forms seven (7) full business days before the final pretrial conference. This submission shall be

accompanied by a courtesy copy containing electronic files of these documents, in Microsoft

Word format, which may be submitted by e-mail to mn_civil@ded.uscourts.gov.

        14.     Trial. This matter is scheduled for a 10 day jury trial beginning at 9:30 a.m. on

October 26, 2026, with the subsequent trial days beginning at 9:00 a.m. 1 Until the case is

submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial

will be timed, as counsel will be allocated a total number of hours in which to present their

respective cases.




                                                 The Honorable Maryellen Noreika
                                                 United States District Judge




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         Both parties request an opportunity to amend their expectations for trial following the
Court’s determination on Plaintiffs’ anticipated motion for class certification.


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                                        Relevant Deadlines

               EVENT                   PLAINTIFFFS’ PROPOSED     FCA US’S PROPOSED
                                            DEADLINES               DEADLINES
Joinder of Other Parties and          September 26, 2025               same
Amendment of Pleadings

Substantial Completion of Class  July 14, 2025                         same
Certification Document Discovery

Fact Discovery Related to Class       September 12, 2025               same
Certification Cut-Off

Plaintiffs’ Class Certification       September 26, 2025               same
Expert Reports

Defendant’s Class Certification       October 31, 2025                 same
Expert Rebuttal Reports

Plaintiffs’ Class Certification       November 26, 2025                same
Expert Rebuttal Reports

Expert Discovery Cut-Off              December 20, 2025           January 9, 2026

Motion for Class Certification        January 14, 2026           February 13, 2026

Objections to Expert Testimony

Opposition to Class Certification     February 18, 2026            March 30, 2026
Motion

Oppositions to Expert Testimony

Replies in Support of Class           March 18, 2026               April 29, 2026
Certification Motion

Replies in Support of Objections to
Expert Testimony

Status Conference to Set Remaining Two weeks after the                 same
Deadlines                          Court’s decision on Class
                                   Certification
